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   1   (FINRA-DR) captioned Angelo Pastorino v. Sandlapper Securities, LLC, et al., FINRA-DR Arb.
   2   No. 20-02475, is confirmed, and, as stated in the Arbitration Award, all references to this
   3   arbitration shall be expunged from the FINRA Central Registration Depository records of
   4   Petitioner Raymond Sun.
   5   IT IS SO ORDERED.
   6

   7            December 2, 2021
       Dated: ______________________             _________________________________
                                                 JUDGE OF THE UNITED STATES DISTRICT
   8
                                                 COURT, CENTRAL DISTRICT OF
   9                                             CALIFORNIA

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          [PROPOSED] JUDGMENT ON VERIFIED PETITION TO CONFIRM FINRA-DR ARBITRATION
                                AWARD PURSUANT TO 9 U.S.C. § 9
